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 8
                                    UNITED STATES DISTRICT COURT
 9
                                 NORTHERN DISTRICT OF CALIFORNIA
10
                                          SAN JOSE DIVISION
11

12   Kyle Johnson, an individual,                       Case No. 21-cv-01849-BLF
13                  Plaintiff,                          PLAINTIFF KYLE JOHNSON’S
                                                        OPPOSITION TO DEFENDANT CITY OF
14                                                      SAN JOSE’S MOTION TO DISMISS
            vs.
                                                        SECOND AMENDED COMPLAINT IN
15                                                      PART
     City of San Jose, a California charter city; San
16   Jose Police Department Officer James Adgar,        Date:        December 1, 2022
     Badge No. 4552, an individual; Does 2 through      Time:        9:00 a.m.
17   50,                                                Courtroom:   3, 5th Fl.
                                                        Judge:       The Hon. Beth Labson Freeman
18                  Defendants.
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 1                                           INTRODUCTION
 2          The City of San Jose (“City”) and San Jose Police Department Officer James Adgar
 3   (“Officer Adgar” or “Adgar”) (collectively “defendants”) move to dismiss plaintiff Kyle
 4   Johnson’s (“plaintiff” or “Johnson”) Second Amended Complaint (“SAC”) with the same
 5   arguments made in the last motion to dismiss. Even so, defendants fail to meet the burden
 6   necessary to dismiss plaintiff’s First Amendment retaliation and Monell claims. Their motion, in
 7   substance, is a motion for summary judgment. However, plaintiff has not yet had the benefit of
 8   discovery on these issues and at this pleading stage the law provides for all reasonable inferences
 9   to be made in favor of plaintiff. Defendants’ motion should be denied.
10          Defendants argue Johnson has failed to allege First Amendment retaliation because the
11   SAC allegations do not create an inference of retaliatory animus. According to defendants, this
12   is due to the lack of a nexus between Officer Adgar’s excessive use of force and Johnson’s
13   protected First Amendment activity. The motion claims the SAC does not allege that Officer
14   Adgar treated protestors differently than counter-protestors with alternative viewpoints.
15   However, defendants willfully ignore reality. The “counter-protestors” were the police.
16   The “alternative viewpoint” was harbored by Officer Adgar. The protests had an inherently anti-
17   police message—a fact defendants do not dispute—which Officer Adgar and his colleagues
18   viewed as a personal attack. Their unhinged conduct confirms as much. Indeed, there is no
19   plausible alternate explanation. Through his indiscriminate use of excessive force, Adgar tried to
20   silence plaintiff for speaking out against him and his fellow officers.
21          Defendants next claim Johnson has not adequately pled Monell liability due to
22   insufficient past allegations of similar misconduct to put the City on notice. Defendants argue
23   Johnson is merely alleging a failure to respond properly to a single event. Again, defendants
24   purposefully disregard the facts. This was not a “single event.” In response to the killing of
25   George Floyd, there were a series of protests in San Jose across several days, in different
26   locations, and involving constitutional violations by different police officers. The law does not
27   require a minimum number of events or amount of time before imposing Monell liability.
28   Notably, defendants have not provided any legal authority in support of such a definite
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 1   requirement. There need only be enough misconduct over sufficient time for a government
 2   entity to notice and change course. When a city is steeped in police violence broadcast across
 3   live television and social media: one day is enough.
 4           City policymakers watched officers brutalize citizens across San Jose on live television
 5   beginning on May 29, 2020. Rubber bullets, tear gas, and other “less-lethal” weapons were
 6   indiscriminately deployed without a second thought. More than 400 projectiles were fired
 7   compared to only 18 arrests. Anyone in proximity to the protests were liable to be shot. A
 8   reporter was shot by SJPD officers with no warning on live television. That same day, city
 9   officials appeared on television interviews opposite live footage of police indiscriminately firing
10   projectiles. The City was aware of the police response, its nature, and its inadequacies. No steps
11   were taken to change course despite numerous opportunities.
12           The motion’s arguments of violence across the city give credence to the inference that
13   City policymakers—namely Police Chief Edgardo Garcia—were personally directing the
14   response to the protests. It is reasonable to infer that a hands-on approach would be taken under
15   the circumstances surrounding the George Floyd protests. As such, the constant and repeated
16   constitutional violations committed by SJPD officers can accordingly be credited to them. Either
17   directly or as ratified.
18           During the 2020 George Floyd protests in San Jose, the City shirked all responsibility it
19   had to its citizens. The protestors demonstrated against police brutality. The police responded
20   with brutality. There is no faster way for a nation to become morally bankrupt than the
21   authorization of its government to violently retaliate against those who speak out against it.
22           Defendant’s Motion to Dismiss should be DENIED.
23                                             ARGUMENT
24           “On a motion to dismiss, it is the defendant’s burden to demonstrate that plaintiff has
25   failed to state a claim.” Shay v. Apple Inc., 512 F. Supp. 3d 1066, 1071 (S.D. Cal. 2021). “It is
26   axiomatic that the motion to dismiss is viewed with disfavor and is rarely granted.” Ernst &
27   Haas Mgmt. Co., Inc. v. Hiscox, Inc., 23 F.4th 1195, 1199 (9th Cir. 2022) (quoting McDougal v.
28   Cnty. of Imperial, 942 F.2d 668, 676 n.7 (9th Cir. 1991)) (cleaned up). “Generally, the ‘harsh
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 1   penalty’ of dismissal ‘should only be imposed in extreme circumstances.’” Tillman v. Tillman,
 2   825 F.3d 1069, 1074 (9th Cir. 2016) (quoting Ferdik v. Bonzelet, 963 F.2d 1258, 1260 (9th Cir.
 3   1992)).
 4             “On a motion to dismiss for failure to state a claim, the court must construe the complaint
 5   in the light most favorable to the plaintiff, taking all [] allegations as true and drawing all
 6   reasonable inferences from the complaint in [plaintiff’s] favor.” Doe v. United States, 419 F.3d
 7   1058, 1062 (9th Cir. 2005). When a complaint’s allegations are capable of more than one
 8   inference, the court must adopt whichever plausible inference supports a valid claim. Starr v.
 9   Baca (9th Cir. 2011) 652 F3d 1202, 1216–1217 (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544,
10   556 (2007); Ashcroft v. Iqbal, 556 U.S. 662, 681 (2009)). Though more than one inference may
11   be possible, “[f]erreting out the most likely reason for the defendants’ actions is not appropriate
12   at the pleadings stage.” Shirazi v. Oweis, No. 5:21-CV-00136-EJD, 2022 WL 445763, at *5
13   (N.D. Cal. Feb. 14, 2022) (quoting Watson Carpet & Floor Covering, Inc. v. Mohawk Indus.,
14   648 F.3d 452, 458 (6th Cir. 2011)) (internal quotations omitted).
15   I.        Johnson Adequately States a § 1983 Claim for First Amendment Retaliation.
16             “To succeed on a First Amendment retaliation claim, [Plaintiff] is required to show (1) he
17   was engaged in a constitutionally protected activity, (2) Officer Adgar’s actions would ‘chill a
18   person of ordinary firmness from continuing to engage in the protected activity,’ and (3) ‘the
19   protected activity was a substantial or motivating factor in [Officer Adgar’s] conduct.’” ECF 67
20   (“Order”) at 15 (citing Index Newspapers LLC v. United States Marshals Serv., 977 F.3d 817,
21   827 (9th Cir. 2020)). Defendants dispute only the “substantial or motivating factor” aspect of
22   plaintiff’s First Amendment retaliation claim. ECF 74, p. 4. “This element ‘may be met with
23   either direct or circumstantial evidence’ and often ‘involves questions of fact that normally
24   should be left for trial.’” ECF 67 (Order), p. 16:2-4 (quoting Index Newspapers LLC, 977 F.3d at
25   827). A § 1983 claimant who asserts a free speech retaliation claim is not required to
26   demonstrate that the illicit factor was the sole or even dominant motive for the government
27   action. Mt. Healthy City Sch. Dist. Bd. of Educ. v. Doyle, 429 U.S. 274, 285–87 (1977).
28   ///
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 1          As was previously described in the FAC, Johnson was shot from behind with a 40mm
 2   projectile round while peacefully engaged in protected First Amendment protest against police
 3 brutality in a public forum after a water bottle was harmlessly thrown up in the air by another

 4   person. See ECF 47, ¶ 16-18. Johnson was not violently confronting police and was fleeing
 5 from their use of weapons when he was shot. Id. In its March 16 order, the Court stated that

 6   “the plausible inference from [these] allegations [in the FAC] is that Officer Adgar fired in
 7   response to the water bottle being thrown.” ECF 67, p. 16:15-16. The SAC, however, contains
 8   additional factual allegations which clarify that the anti-police sentiments of the protests were the
 9   substantial and/or motivating factor in the unlawful use of force against the demonstrators,
10   including plaintiff. ECF 73, ¶¶ 24-37.
11          For example, “during the five days of protest, police officers used force to target
12   demonstrators based upon the demonstrators’ race and their belief that police should be held
13   accountable for their actions.” ECF 73, ¶ 14. “[D]emonstrators exhibited peaceful behavior
14   without antagonizing the police such as playing a guitar while marching, kneeling on the ground
15   and praying, standing with their hands up, and trying to walk away.” Id., ¶ 15. The SJPD
16   engaged in the use of “ ‘kettling’ (also known as containment or corralling), which is a police
17   tactic where officers surround a large group of people in a space by enclosing them so there is no
18   escape.” Id., ¶ 19. During the protests, the SJPD “used less-lethal force including tear gas,
19   batons, rubber bullets, bean bags, and physical force against peaceful demonstrators.” Id., ¶ 20.
20   The SJPD so excessively used munitions that it was required to make additional purchases. See
21   Id., ¶ 21. “Officer Adgar held views contrary and hostile towards the demonstrators and the
22   protests. He employed excessive force as a result of his discriminatory views towards the
23   demonstrators and his disagreement with the protest.” See generally Id., ¶ 33. Officer Adgar
24   admits, by descriptions in his own report, that he shot multiple protestors at different times who
25   did not actively pose a threat to him or anyone else. See Id., ¶ 33. Officer Adgar blatantly
26   flouted multiple department policies including firing his weapon without identifying a target and
27   shooting protestors with a projectile weapon without an apparent ability to make an arrest. See
28   Id., ¶ 33. The absence of any threat necessitating the use of force coupled with Adgar’s
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 1   indiscriminate use of force gives rise to the inference that the protestor’s speech and their
 2   message against police brutality was a substantial or motivating factor for Adgar’s conduct.
 3           The allegations in the SAC are sufficient to support a claim of First Amendment
 4   retaliation. See NAACP of San Jose/Silicon Valley v. City of San Jose, 562 F. Supp. 3d 382,
 5   399–400 (N.D. Cal. 2021) (finding retaliatory animus for same protests and holding “given that
 6   the protestors were specifically protesting police misconduct, it is reasonable to allege that the
 7   protestors’ viewpoint was a substantial or motivating cause – even if not necessarily the sole
 8   cause – behind the defendants’ conduct.”); Sanderlin v. City of San Jose, No. 20-CV-04824-
 9   BLF, 2022 WL 913055, at *7–8 (N.D. Cal. Mar. 29, 2022) (same protests and finding retaliatory
10   animus supported by allegations that police fired less-lethal munitions at peaceful and/or
11   nonconfrontational protestors, into an apartment, and fired so many rounds that City resources
12   had become depleted); Black Lives Matter Seattle-King Cnty. v. City of Seattle, Seattle Police
13   Dep't, 466 F. Supp. 3d 1206, 1213–14 (W.D. Wash. 2020) (“The use of indiscriminate weapons
14   against all protesters—not just the violent ones—supports the inference that SPD's actions were
15   substantially motivated by Plaintiffs’ protected First Amendment activity.”); Don't Shoot
16   Portland v. City of Portland, 465 F. Supp. 3d 1150, 1155–56 (D. Or. 2020) (inference of
17   retaliatory intent supported by allegations that less-lethal munitions, including rubber bullets,
18   were used against people attempting to leave a protest area); Anti Police-Terror Project v. City of
19   Oakland, 477 F. Supp. 3d 1066, 1087–88 (N.D. Cal. 2020); Breathe v. City of Detroit, 484 F.
20   Supp. 3d 511, 518 (E.D. Mich. 2020) (indiscriminate use of less-lethal munitions “may alone be
21   enough to support the inference that the police officers were at least partially motivated by
22   Plaintiffs’ protected activity”).
23           Defendants argue the SAC suffers from the same issues as the FAC by focusing on the
24   general similarities between the allegations in the two pleadings. ECF 74, p. 4-5. However, in
25   dismissing the First Amendment retaliation claim from the FAC, the Court’s concern was not
26   about the precise nature of the events in each allegation. Rather, it was the extent to which they
27   occurred. Order at 17:24-26 (“These allegations alone are insufficient for the Court to draw the
28   same inference as was drawn in the two cases Johnson cites, which included much more
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 1   extensive allegations of police violence.”). Accordingly, Defendants’ argument misses the mark.
 2          Defendants also argue that the Court’s prior Order required plaintiff to add, among other
 3   things, allegations of an “inaudible loudspeaker” and that “journalists and medics” were targeted.
 4   ECF 74, 5:13-22. This is incorrect. The Court was only comparing allegations in Anti Police-
 5   Terror Project, 477 F. Supp. 3d 1066 with the FAC and mentioning examples. ECF 67, p. 17:4-
 6   14. The Court did not require the allegation of any specific fact. See Id. Although these facts
 7   are, indeed, alleged. See ECF 73, ¶¶ 17, 49.
 8          Despite the irrelevancy, Defendants argue that Johnson’s allegations prove the speaker
 9   was audible beforehand because Johnson heard an announcement after being shot. ECF 74,
10   5:16-18; see ECF 73, ¶ 31. The plausible inference drawn from this allegation bears no weight
11   on the decipherability of the loudspeaker. See ECF 73, ¶ 31. Instead, it supports the inference
12   that the police did not issue any warning until after employing excessive force. Id. This
13   inference supports the conclusion that the officers purposefully surprised the protestors with
14   excessive force because of their animus against plaintiff and the other protesters engaging in free
15   speech. See Shirazi, 2022 WL 445763, at *5 (allegations that protestors who were subjected to
16   indiscriminate force were peaceful, did not present a threat, and not given any dispersal warning,
17   were sufficient to support inference that actions were motivated by First Amendment activity).
18          Defendants also argue that plaintiff has not alleged facts regarding Adgar’s animus via
19   comments about the protest or that “officers particularly targeted [plaintiff] and other Black
20   Lives Matter protestors while not targeting counterprotestors.” ECF 74, p. 5:19-21. As
21   referenced above, this argument misses the mark. The counter-protestors were the police
22   themselves. It is sufficient that the SAC alleges facts showing “[t]he use of indiscriminate
23   weapons against all protesters—not just the violent ones” because this “supports the inference
24   that [SJPD’s] actions were substantially motivated by Plaintiffs’ protected First Amendment
25   activity.” Black Lives Matter Seattle-King Cnty., 466 F. Supp. 3d at 1214. At different times
26   during the protest, Adgar shot multiple other protestors who did not actively pose a threat or
27   were trying to leave the protest. See ECF 73, ¶ 33.
28   ///
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 1          Defendants argue the allegations that Adgar purposefully ignored department policies do
 2   not support an inference of animus. ECF 74, p. 5:23-6:13. However, Defendants’ assertion
 3   contradicts their arguments that there was not a failure to train officers. If this conduct does not
 4   evidence a failure to train, then such violations must have been on purpose.
 5          Finally, defendants attempt to introduce their own competing inferences for several of
 6   Johnson’s allegations. It would be improper for the Court to dismiss the SAC on such a basis
 7 even if they are plausible. Starr, supra, (9th Cir. 2011) 652 F3d at 1216–1217 (court must adopt

 8   whichever plausible inference supports a valid claim); Shirazi, 2022 WL 445763, at *5 (ferreting
 9   out most likely reason for defendant’s action not appropriate at pleadings stage). Nonetheless,
10   defendants’ competing inferences are not plausible. Johnson alleges the actions described in
11   Adgar’s report demonstrate that he was not using his projectile weapon to prevent injury, as
12   required by department policy, which supports an inference of animus. ECF 73, ¶ 33. Adgar
13   described shooting multiple people with that he believed had already previously thrown bottles,
14   did not have another bottle, and were leaving the protest. Id. Defendants argue the plausible
15   inference here is that Adgar was acting to prevent injury because “[b]eing struck by a foam baton
16   round after throwing a bottle will make a person think twice before doing it again.” ECF 74, p.
17   6:2-13. Defendants’ claim of an intent to exact extra-judicial punishment—as opposed to an
18   animus against the protest’s message—is nonsensical, unsupported by citation to legal authority,
19   and does not contravene the idea that even this intent could have been motivated by the First
20   Amendment activity. See Don't Shoot Portland, 465 F. Supp. 3d at 1155–56 (use of less-lethal
21   munitions on protestors leaving demonstration supports inference that prevention of criminal
22   activity not sole purpose of use of force and may have been motivated by intent to interfere with
23   constitutional expression).
24          Johnson’s allegation that Adgar fired his weapon without identifying a target, and
25   admitted as much to fellow officers, supports the plausible inference that he was purposefully
26   firing his weapon indiscriminately. ECF 73, ¶ 33. The allegation that Adgar did this in direct
27   contravention of department policy supports the plausible inference that the anti-police message
28   of the protests motivated him to ignore department policy. ECF 73, ¶ 33. The only plausible
                                               13
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 1   alternate inference is that Adgar was inadequately trained and did not know of the policy, which
 2   Defendant also disputes. (See Monell discussion below). Defendants argue this allegation
 3 supports the inference that he “has identified a target but is having difficulty maintaining sight of

 4 that target.” ECF 74, p. 6:18-19. The plain language of the allegation defeats this argument.

 5 ECF 73, ¶ 33 (“Officer Adgar’s body worn camera footage captures him telling other officers

 6 that he couldn’t see where he was firing.”). This assertion also does not preclude an inference of

 7 animus because, even accepting it, the allegation still alleges that Adgar fired his weapon despite

 8 not having a lawful reason to do so.

 9 II.       Johnson Adequately Alleges the City’s Liability under § 1983.
10           “Monell established that municipalities can be liable for infringement of constitutional
11 rights, under certain circumstances. [Citation.] In particular, municipalities may be liable

12   under § 1983 for constitutional injuries pursuant to (1) an official policy; (2) a pervasive practice
13   or custom; (3) a failure to train, supervise, or discipline; or (4) a decision or act by a final
14   policymaker.” Horton by Horton v. City of Santa Maria, 915 F.3d 592, 602–03 (9th Cir. 2019).
15   The SAC sufficiently states a claim for the City’s liability under each of these theories. “In the
16   context of municipal liability, as opposed to individual officer liability, it is exceedingly rare that
17   a plaintiff will have access to (or personal knowledge of) specific details regarding the existence
18   or absence of internal policies or training procedures prior to discovery. Accordingly, only
19   minimal factual allegations should be required at the motion to dismiss stage.” Haines v. Brand,
20   No. C-11-1335 EMC, 2011 WL 6014459, at *5 (N.D. Cal. Dec. 2, 2011) (quoting Thomas v.
21   City of Galveston, Texas, 800 F. Supp. 2d 826, 842–43 (S.D. Tex. 2011) and collecting cases);
22   Guevara v. Cnty. of Los Angeles, No. CV 14-08120 DDP, 2015 WL 224727, at *3 (C.D. Cal.
23   Jan. 15, 2015) (same); Harris v. Clearlake Police Dep't, No. 12-0864-YGR, 2012 WL 3042942,
24 at *5 (N.D. Cal. July 25, 2012) (“only minimal specificity is required”). “Allegations that

25 provide [adequate] notice could include, but are not limited to, past incidents of misconduct to

26 others, multiple harms that occurred to the plaintiff himself, misconduct that occurred in the

27 open, the involvement of multiple officials in the misconduct, or the specific topic of the

28 challenged policy or training inadequacy. Those types of details ... help to satisfy the
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 1   requirement of providing not only fair notice of the nature of the claim, but also grounds on
 2   which the claim rests.” Guevara v. Cnty. of Los Angeles, No. CV 14-08120 DDP, 2015 WL
 3   224727, at *4 (C.D. Cal. Jan. 15, 2015) (quoting Thomas v. City of Galveston, Texas, 800 F.
 4   Supp. 2d 826, 842–43 (S.D. Tex. 2011)) (emphasis in original).
 5           Defendants only address two Monell theories (“failure to train or supervise” and “custom
 6   of discrimination”). Markedly, despite using language referring to supervision, they conflate
 7   failure to train and failure to supervise. See ECF 74, p. 8:20-16:16. The City has failed to meet
 8   its burden of demonstrating that Plaintiff has not stated a claim. In sum, the City’s motion
 9   attempts to introduce new and improper evidence, implausible inferences, and arguments that are
10   either irrelevant or without citation to authority in order to argue that Johnson’s allegations do
                                                                           1
11   not prove the existence of a municipal policy, practice, or custom. Id. However, “at this stage
12   of the litigation, whether the policies alleged by Plaintiff actually exist is ‘a question for the
13   merits phase of the litigation.’” Rodriguez v. Cnty. of Los Angeles, No. 816CV00674JVSSHK,
14   2019 WL 8756638, at *8 (C.D. Cal. Aug. 29, 2019) (quoting Guevara v. Cnty. of Los Angeles,
15   No. CV 14-08120 DDP, 2015 WL 224727, at *2 (C.D. Cal. Jan. 15, 2015)).
16           a.      Custom or Practice
17           The SAC sufficiently alleges an unwritten custom or practice of using excessive force,
18   including the use of projectile weapons, tear gas, and kettling, with little or no warning against
19 people participating in protests against the racist killings of black people by police officers. A

20 municipality may be held liable on the basis of an unconstitutional policy if a plaintiff can “prove

21   the existence of a widespread practice that, although not authorized by written law or express
22   municipal policy, is ‘so permanent and well settled as to constitute a ‘custom or usage’ with the
23   force of law.’” City of St. Louis v. Praprotnik, 485 U.S. 112, 127 (1988) (quoting Adickes v. S.H.
24 Kress & Co., 398 U.S. 144, 167-168 (1970)); see Order, p. 21:2-6. A custom or practice may

25 constitute a municipality’s policy even though it is contrary to a charter, ordinance, regulation, or

26

27   1 Although Defendant’s motion only addresses two of plaintiff’s Monell theories, responsive

28   discussion is included below where relevant for the Court’s convenience.
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 1   other formally promulgated policy. City of St. Louis v. Praprotnik, 485 U.S. 112, 130–31
 2   (1988). “The inquiry regarding adequacy of notice is highly specific to the facts of the case
 3   under consideration; the line between adequate and inadequate evidence of repeated
 4   constitutional violations does not involve a specific quantum or number of allegations.” Est. of
 5   Mendez v. City of Ceres, 390 F. Supp. 3d 1189, 1209 (E.D. Cal. 2019). Previously, the Court
 6   held the FAC could not support this species of Monell because Johnson “has not sufficiently
 7   alleged any other examples of the use of less lethal weapons on protestors.” See ECF 67, p. 21.
 8   Now, the SAC adequately alleges the existence, and the City’s awareness, of this unofficial
 9   custom. See ECF 73, ¶¶ 1-2, 12-23, 24-37, 38-67.
10          “Starting May 29, 2020, for five days, countless people gathered on the streets of San
11   Jose peacefully to protest the killing of George Floyd, police brutality, and systemic racism.”
12   ECF 73, ¶ 12. “In response to protests against police brutality, the police chose to engage in
13   brutality.” ECF 73, ¶ 14. The police engaged in this activity even though most protestors were
14   engaged in peaceful activity such as playing guitar and praying. See ECF 73, ¶ 15. Police even
15 shot protestors who were already leaving the protests. Id. An excessive police presence

16   preemptively gathered without reason before any isolated violent incidences occurred. See ECF
17   73, ¶ 17. Protestors were subjected to this brutality without warning. See ECF 73, ¶ 18. In
18   doing this, the police employed a variety of “less-lethal” weapons including “tear gas, batons,
19   rubber bullets, bean bags, and physical force.” See ECF 73, ¶ 20. Such a large quantity of
20   munitions were used against protestors that the SJPD had to make an additional purchase after
21   only one day—this usage corresponded with only 18 arrests. ECF 73, ¶ 21, 58. Some examples
22   from May 29, 2020 include: aggressive behavior filmed of Officer Jared Yuen; a good Samaritan
23   who tried to assist a police officer that was knocked unconscious and was later shot by Officer
24   Yuen; a peaceful demonstrator who was shot in the genitals; a woman supporting the protestors
25   who was shot with rubber bullets and tear gas canisters through the windows of her own home
26   by police. ECF 73, ¶¶ 50-53, 55, 56. The City knew of the aggressive nature of its officers due
27   to complaints going back years. See ECF 73, ¶ 57.
28   ///
                                               16
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 1          Given the widespread reporting in the media, including every local Bay Area television
 2   station on and before May 29, and the involvement of City officials, the only reasonable
 3 inference is that the City was aware of the custom or practice of its police officers in responding

 4   to the George Floyd protests. It would have been impossible for City policymakers to not know
 5   about what was happening. See ECF 73, ¶ 49. In a detailed fashion, television reporters
 6   described and displayed real-time footage of SJPD officers subjecting the public to
 7   indiscriminate excessive force, often without warning. Id. For example, on May 29, 2022, a
 8   reporter for CBS KPIX5 News, Len Ramirez, was shot with a projectile without warning on live
 9   television while closely embedded with the protestors. Id. Immediately thereafter, the CBS
10   broadcast anchors noted that police officers were “firing directly” at protestors, even stating that
11   “you can clearly see police officers firing into the crowd, it appears to be some sort of a
12   projectile.” Id. Other media reporting included direct evidence that city policymakers were
13   specifically aware of the depictions in the media—rare direct evidence that is unheard of in these
14   types of cases. For example, in a KTVU Fox 2 News broadcast on May 29, 2022, Mayor Sam
15   Liccardo was interviewed live on-air alongside live footage of SJPD officers subjecting the
16   public to excessive force with less-lethal weapons. Id. Mayor Liccardo admitted both that he
17   was aware of the situation at City Hall and that, right before his on-air interview, he had
18   discussed the use of less-lethal weapons at City Hall with Police Chief Edgardo Garcia, who was
19   also aware of the situation. Id.
20          In Samaha v. City of Minneapolis, 525 F. Supp. 3d 933 (D. Minn. 2021) the court held
21   that a plaintiff alleged facts supporting the existence of an unconstitutional policy or custom of
22   police officers using excessive force against George Floyd protestors where the complaint
23   described police misconduct occurring on different days in different places by different police
24   officers. Id. at 941-42. The allegations included incidents of police using less-lethal munitions
25   against protestors with little or no warning including “protesters who were already dispersing,
26   and protesters who could not disperse because their escape had been blocked by law enforcement
27   officers.” Id. A scenario that is, for these purposes, identical to that which occurred in San Jose
28   at this same time, as alleged in the SAC. See, e.g., ECF 73, ¶¶ 12 & 15 (multiple days and
                                               17
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 1   locations), 17-18 & 49 (lack of warning), 15 & 29 (shot while attempting to flee), 19 (escape
 2   blocked).
 3           In Tirado v. City of Minneapolis, the court held a plaintiff had sufficiently alleged Monell
 4   liability notice where the complaint identified “at least five incidents of use of force” and
 5   explained “how the City allegedly became aware of those incidents through broad reporting by
 6   news outlets, the City’s own social media monitoring efforts, and direct outreach by media.”
 7   Tirado, 521 F. Supp. 3d 833, 843-44; see also Scott v. Louisville/Jefferson Cnty. Metro Gov’t,
 8   503 F. Supp. 3d 532, 539 (W.D. Ky. 2020) (holding “actual or constructive notice of a pattern of
 9   constitutional violations” was sufficiently alleged where “complaint cites to local and national
10   news articles that report on [police department’s] alleged use of aggressive crowd control
11   methods, such as tear gas and rubber bullets, on what appeared to be peaceful demonstrators”).
12           The City argues that all of the incidents in the SAC—even those that happened on
13   different days and locations—are contemporaneous and cannot establish notice for Monell
                        2
14   liability purposes. See ECF 74, p. 11:13-14:12. Specifically, the City claims that the entire
15   period of the protests are a “single incident” that cannot support a Monell liability claim “even if
16 that incident is spread out over hours or days, and even if there were different city employees

17 responsible for the alleged violations.” ECF 74, p. 13:16-18. This argument defies all logic and

18   reason. Although the demonstrations may be grouped in the sense that they were all protesting
19   the same cause, they cannot be grouped as a single continuous incident. The SAC does not
20   allege protestors camped out at City Hall or stayed in the plaza for 24-hours a day. Nor does it
21   allege protesting occurred in a single location. There are no allegations that the protests were
22   centrally organized or pre-planned to occur for a specific amount of time. In contrast, the SAC
23   alleges demonstrations occurred for five days across San Jose. See, e.g., ECF 73, ¶ 12 (“Starting
24   May 29, 2020, for five days, countless people gathered on the streets of San Jose”). Notably, the
25

26   2 While the City made this argument for purposes of Plaintiff’s failure to train claim, Plaintiff

27   anticipates that Defendant will argue it applies to all of Plaintiff’s Monell theories. As such,
28   Plaintiff addresses it here.
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 1   Samaha court rejected this precise argument. See Samaha, supra, 525 F. Supp. 3d at 942 (D.
 2   Minn. 2021) (“The Court finds that the Complaint alleges facts which would support the
 3   existence of an unconstitutional policy or custom. Plaintiffs allege similar misconduct occurring
 4   on different days and in different places, by many different MPD officers, during the George
 5   Floyd protests.”). To make this “contemporaneous” argument, the City primarily relies on
 6   Connick v. Thompson, 563 U.S. 51, 63 n.7 (2011) where the court rejected an argument that the
 7   nondisclosure of a single report by up to four different prosecutors (or also additional evidence
 8   relating to a single person) could constitute multiple instances. Id. In contrast, here, dozens of
 9 police officers inflicted excessive force, and other constitutional violations, against large crowds

10 of people at different locations on different days. See, generally, ECF 73, ¶¶ 12-67.

11          The Samaha court held even where alleged incidents are condensed into a relatively short
12   period of time, they, nonetheless, may “permit the reasonable inference that the time period was
13   sufficiently long for the City Defendants to take notice of the [] officers’ alleged misconduct and
14   change course.” Samaha, supra, 525 F. Supp. 3d at 942; see also Tirado, supra, 521 F. Supp. 3d
15   at 840–43 (same); Armstrong v. City of Minneapolis, 525 F. Supp. 3d 954, 962–64 (D. Minn.
16   2021) (same); Huffman v. City of Bos., No. 21-CV-10986-ADB, 2022 WL 2308937, at *7 (D.
17   Mass. June 27, 2022) (“The City’s argument that the allegations are not enough to support
18   a Monell claim because they rest only on ‘one night of civil unrest’ is unavailing. [Citation] In
19   addition to the fact that Plaintiffs have suggested that similar conduct occurred during
20   demonstrations on surrounding days, ‘egregious instances of misconduct’ even when ‘relatively
21   few in number but following a common design, may support an inference that the instances
22   would not occur but for municipal tolerance of the practice in question.’”). The same is true
23   here. The SAC alleges a handful of incidents occurring a day or more before plaintiff’s injuries.
24   These allegations permit a reasonable inference of a custom during a time that was sufficiently
25   long enough for the City to take notice. See, e.g., Menotti v. City of Seattle, 409 F.3d 1113, 1148
26   (9th Cir. 2005) (five incidents on same day sufficient to show custom or practice).
27          Defendants next argue that the protests of May 29 were not peaceful and, impliedly, that
28   the SJPD was justified in its actions. See ECF 74, p. 11:1-12. However, “the proper response to
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 1   potential and actual violence is for the government to ensure an adequate police presence, and to
 2   arrest those who actually engage in such conduct, rather than to suppress legitimate First
 3   Amendment conduct as a prophylactic measure.” Black Lives Matter Seattle-King Cnty., supra,
 4 466 F. Supp. 3d at 1213 (quoting Collins v. Jordan, 110 F.3d 1363, 1372 (9th Cir. 1996)).

 5 Shooting rubber bullets and tear gas in response to a single individual throwing a single water

 6 bottle in the air—which landed on the ground harming no one—is not justified by the conduct of

 7 a few isolated bad actors. See ECF 73, ¶¶ 24-31. In fact, the plausible inference is that the water

 8 bottle was a pretext to shoot the protestors. Further, the City appears to be making a request for

 9 judicial notice of their interpretation without actually making the request. Regardless, inferences

10 must be construed in plaintiff’s favor, even when competing inferences are presented. Doe, 419

11 F.3d at 1062 (9th Cir. 2005); Starr, 652 F3d at 1216–1217; Ashcroft, 556 U.S. at 681 (2009)).

12           The City argues that Mayor Liccardo and Chief Garcia are not final policymakers for
13 Monell purposes. See ECF 74, p. 14:21-15:10, 15:11-20. These arguments by the City have

14 already been rejected in other cases concerning the exact same protests. See NAACP of San

15 Jose/Silicon Valley, 562 F. Supp. 3d at 396–98; Sanderlin, 2022 WL 913055, at *6–7, 16.

16           b.      Custom or Practice of Inaction
17                 i.        Failure to Train
18           Plaintiff’s injuries were caused by the City’s failure to train its officers in the use of force
19 and crowd control tactics including, but not limited to, the use of projectile impact weapons and

20 kettling. This failure to train resulted in violations of the constitutional rights of plaintiff and

21 other members of the public. Notably, the SJPD implemented new policies regarding the

22 permissible use of less-lethal weapons immediately before the protests and failed to train its

23 officers on the new policies. See ECF 73, ¶ 38. “Failure to train an employee who has caused a

24 constitutional violation can be the basis for § 1983 liability where the failure to train amounts to

25 deliberate indifference to the rights of persons with whom the employee comes into contact.”

26   Long v. Cty. of Los Angeles, 442 F.3d 1178, 1186 (9th Cir. 2006) (citing City of Canton v.
27   Harris, 489 U.S. 378, 388 (1989); see Order, p. 19:13-27.
28           Plaintiff has adequately pled the City’s liability under Monell as the result of this failure
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 1   to train its police officers. See ECF 73, ¶¶ 38-63. “[T]raining on the use of, and the
 2   constitutionality of using, less lethal firearms against peaceful demonstrators was minimal and
 3   infrequent.” ECF 73, ¶ 40. “[T]he SJPD conducted no ongoing training for patrol officers
 4   regarding the 40mm launchers used against the George Floyd civil rights demonstrators.” ECF
 5   73, ¶ 41. “In spite of the lack of necessary training, the SJPD allowed untrained officers to be
 6   equipped with less-lethal firearms during the George Floyd civil rights demonstrations.” Id. at ¶
 7   43. The so-called “training” that may have been given to some officers encouraged them to use
 8   force improperly. See Id., ¶ 46. Subsequently published reports commissioned by the City and
 9   SJPD admit “that there was lack of training and experience, insufficient staffing levels, and a
10   need to update policies and procedures which impacted the SJPD’s response to the George Floyd
11   protest” and “that the vast majority of officers and sergeants had not received the appropriate
12   training; any training regarding civil disorder had been sparse for years and provided only to a
                                                                          3
13   relatively small segment of the SJPD organization.” Id., ¶¶ 22-23.
14           The SAC satisfies both single incident liability principles and demonstrates the City had
15   notice of a pattern of similar constitutional violations. A single incident may establish Monell
16   liability where inadequate police training “amounts to deliberate indifference to the rights of
17   persons with whom the police come into contact.” See City of Canton, 489 U.S. at 388-90
18   (1989); see also Christie v. Iopa, 176 F.3d 1231, 1235, 1240-41 (9th Cir. 1999). A plaintiff may
19   show failure to train “without showing a pattern of constitutional violations where a violation of
20   federal rights may be a highly predictable consequence of a failure to equip law enforcement
21   officers with specific tools to handle recurring situations.” M.H. v. Cty. of Alameda, 62 F. Supp.
22   3d 1049, 1082 (N.D. Cal. 2014) (internal quotation marks omitted, emphasis added) (quoting
23   Long v. Cty. of Los Angeles, 442 F.3d 1178, 1186 (9th Cir. 2006)); see also Connick, 563 U.S. at
24

25   3 As the Court recognized in its order, “a report issued after the protests could not have put the

26   City on notice prior to the protests about a failure to adequately train personnel.” ECF 67, p. 20
27   n. 6. However, these reports do establish the existence of a lack of training at the time of the
28   protests.
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 1   63-64, 71.
 2          In response to the George Floyd civil rights protests, the SJPD deployed officers who had
 3   received no training in the use of 40mm projectile weapons. See ECF 73, ¶ 43-44. For example,
 4   neither Officer Adgar nor Officer Jared Yuen had any training in the use of 40mm munitions
 5   prior to their deployment at the protests. ECF 73, ¶ 45. The damage, pain, and suffering caused
 6   by the actions of these untrained officers were highly predictable consequences of their
 7   deployment with weapons for which they had no training. While some of the officers at the
 8   protests may have received some 40mm munitions training, that does not alleviate the fact that a
 9   litany of their colleagues had received no training at all.
10          Additionally, none of the SJPD officers at the protests had received any training
11   regarding brand new policies set by the department a week before the protests. See ECF 73, ¶
12   38. Officers had not been trained on the use of 40mm weapons in crowd control situations. Id.
13   at ¶¶ 40-44. Chief Garcia became aware that protests would occur roughly six days after
14   implementing the new 40mm policy. Id. at ¶ 38. SJPD officers should not have been deployed
15   with 40mm projectile weapons to mass demonstrations, without specific training on that weapon
16   for that instance, because it is highly predictable that they will misuse them when confronted
17   with large groups of people, as compared to just one person. See Sanderlin, 2022 WL 913055, at
18   *15 (“The Court finds that Plaintiffs have made out a failure to train claim based on the change
19   in policy immediately before the protest regarding the permissible uses of less-lethal weapons”).
20          The SAC also alleges a pattern of similar violations that put the City on notice of a need
21   for additional or different training for which the City was deliberately indifferent. See Connick
22   v. Thompson, 563 U.S. 51, 62 (2011); ECF 73, ¶¶ 38-63. The above discussion regarding Monell
23   notice to the City, via instances of constitutional violations establishing custom or policy, applies
24   with equal force here. See section II.b. above. This is because these alleged incidents displayed
25   both the aforementioned custom and a lack of training by SJPD officers in the use of 40mm
26   weapons in crowd control situations. See, e.g., ECF 73, ¶¶ 49, 50-53, 55-57.
27          Training that encourages violence, when it should be encouraging de-escalation, can
28   support a claim of failure to train. See ECF 73, ¶ 46; Alsaada v. City of Columbus, 536 F. Supp.
                                               22
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 1   3d 216, 272 (S.D. Ohio 2021) (inference of failure to train where alleged “crowd-control training
 2   instructed that not all protestors standing with their hands raised were peaceful, that children and
 3   the elderly were pawns and shields, that volunteers distributing water on a hot day were
 4   fomenting violence, and that protestors wearing protective gear for fear of CPD force were ‘not
 5   actually nonviolent,’ so officers needed to be “mentally prepared to use force” against them.”)
 6                ii.       Failure to Supervise
 7          Johnson adequately alleges Monell liability on a theory of failure to supervise. The
 8   deliberate indifference standard in City of Canton, 489 U.S. 378, 390 (1989) extends to liability
 9 claims predicated on inadequate supervision. Davis v. City of Ellensburg, 869 F.2d 1230, 1235

10 (9th Cir. 1989). Under this theory, deliberate indifference is established when a city fails to take

11 corrective remedial action after being put on actual or constructive notice that its employees are

12 engaging in unconstitutional acts. Jackson v. Barnes, 749 F.3d 755, 763 (9th Cir. 2014).

13          As with the failure to train theory of liability, the above Monell notice discussion
14 regarding custom or policy will apply with equal force here because the alleged incidents

15 displayed both the aforementioned custom and a lack of supervision. See section II.b. above.

16   The key distinction here is that the City was aware that its officers were engaged in misconduct
17   and did nothing to correct or stop this behavior. See Jackson, 749 F.3d at 763. This occurred to
18   such a degree that the City’s inaction amounts to a deliberate indifference towards those
19   members of the public for whom SJPD officers come into contact.
20          On May 29, 2020, “SJPD officers [] deployed thirty-one pepper ball projectiles, thirty-
21   two tear gas canisters, and at least 400 foam batons or rubber bullets into crowds of peaceful
22   demonstrators.” Id. at ¶ 21. This resulted in only 18 arrests made. ECF 73, ¶ 58. A ratio of 400
23   or more foam baton rounds fired compared to only 18 arrests supports the inference that police
24   officers were indiscriminately using their weapons. This inference is logical when considering
25   the debilitating firepower of a 40mm projectile and that SJPD officers are required to identify a
26   target before firing their weapon. See Id. ¶¶ 29-31, 33. 400 projectiles is simply too many used
27   projectiles to arrest only 18 people. The lack of supervision and inquiry into this statistic is
28   sufficient to infer those with supervisory responsibilities within the City were not doing their job.
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 1          The inference that SJPD officers were indiscriminately using their weapons is
 2   compounded by the video footage, widely circulated on social media, of Officer Yuen behaving
 3   recklessly, and of live news broadcast footage of SJPD officers indiscriminately firing projectiles
 4   without warning at peaceful protestors and other nearby innocent bystanders—including a CBS
 5   KPIX reporter, embedded in the crowd, who was describing the situation live on-air and clearly
 6   not involved in the protests. See ECF 73, ¶¶ 49-53; see also Id. ¶¶ 55-63; see section II.b. above.
 7          These instances put the City on actual or constructive notice that it needed to supervise its
 8   officers. The City could have taken any number of actions after May 29 to prevent injury to
 9   protestors on May 30, such as deciding to not deploy officers to protests with 40mm projectile
10   weapons and tear gas. Instead of correcting course, the City redeployed SJPD officers with less-
11   lethal weapons on May 30 without any different instruction. ECF 73, ¶¶ 24-32. This included
12   officers like Jared Yuen who had fired roughly a quarter of the 400 or more 40mm projectiles
13   used on May 29. See Id., ¶¶ 21, 52. By failing to supervise its officers, after observing the
14   events of May 29, the City was deliberately indifferent towards the welfare of the May 30
15   protestors who the City knew would inevitably be the subject of injury—both constitutionally
16   and physically—if remedial action were not taken. See, e.g., Est. of Jackson v. City of Modesto,,
17   No. 1:21-CV-0415 AWI EPG, 2021 WL 4819604, at *17 (E.D. Cal. Oct. 14, 2021) (allegations
18   supported inadequate supervision where no remedial actions were taken by supervisor, regarding
19   officers’ “contacts with those impaired due to substances or mental health conditions,” despite
20   “numerous instances of alleged excessive force.”); Depew v. City of St. Marys, Georgia, 787
21   F.2d 1496, 1499 (11th Cir. 1986) (finding violations of police department policies sufficient to
22   put the city on notice of the need to supervise and the city’s failure to rectify the situation as
23   “precisely the type of informal policy or custom that is actionable under section 1983.”)
24                iii.      Failure to Discipline
25          A claim of Monell liability may also be premised upon a city’s failure to discipline its
26   employees, such that it amounts to a deliberate indifference to the rights of those whom they
27   come into contact with. See Hunter v. Cnty. of Sacramento, 652 F.3d 1225, 1234 (9th Cir.
28   2011). The allegations underlying plaintiff’s above-discussed policy of inaction theories apply
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 1   equally with regard to the City’s failure to discipline its officers for their misconduct during the
 2   protests, which only further encouraged the behavior. See section II.b.
 3           Additionally, prior to the protests, the SJPD had a history of failing to investigate and
 4   discipline officers regarding complaints submitted by the public. See ECF 73, ¶ 57. For
 5   example, despite egregious behavior on May 29 which resulted in 1,079 complaints, Officer
 6   Jared Yuen was not disciplined. See ECF 73, ¶¶ 50-55. He was permitted to return to duty on
 7   May 30 where he continued to violate the constitutional rights of members of the public. Id.
 8   Such failure to discipline supports a custom or policy, which endorses and encourages
 9   constitutional violations, amounting to deliberate indifference. See, e.g., Gomez v. Vernon, 255
10   F.3d 1118 (9th Cir. 2001) (upholding district court’s determination that corrections department
11   condoned the policy of retaliation where top correctional officers failed to investigate retaliation
12   complaints and failed to discipline offending officers).
13           The Court previously rejected plaintiff’s ratification argument premised on Chief
14   Garcia’s post-event approval of Officer Yuen’s actions. See ECF 67, p. 20 n. 5. However, this
15   lack of discipline shows that Officer Yuen was acting pursuant to custom or policy at the time of
16   the incidents. “[L]ack of discipline can prove the existence of a policy or custom … [c]ertainly,
17   a failure to discipline the individual officers here could demonstrate that they were acting
18   pursuant to their training, policy, or custom.” de la Torre v. La Plata Cnty., No. 21-CV-01422-
19   CMA-NRN, 2022 WL 1193471, at *9 (D. Colo. Feb. 11, 2022); see Bordanaro v. McLeod, 871
20   F.2d 1151, 1166 (1st Cir. 1989) (upholding lower court’s decision to admit “post-event evidence
21   of... the failure to take strong disciplinary action” because evidence could tend to show existence
22   of policies in effect before police officers beat plaintiff).
23                iv.        Custom of Discrimination Establishes First Amendment Liability
24           Defendants attack plaintiff’s allegations regarding discrimination by the SJPD as failing
25   to allege an equal protection claim. See ECF 74, 16:19-18:6. This is a distraction. The
26   statistical evidence provides support for plaintiff’s Monell claim as it relates to violations of First
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                         4
 1   Amendment rights. See ECF 73, ¶¶ 64-67. These allegations support the plausible inference
 2   that “Defendants employed excessive force against plaintiff and other peaceful protesters at the
 3   George Floyd protests because the message of the demonstrations was focused on racist killings
 4   of Black people by police throughout the country [including the SJPD].” ECF 73, ¶ 64
 5   (emphasis added). The SJPD’s longstanding practice of discrimination against people of color, a
 6   parallel custom, was in part the moving force behind the department’s widespread use of
                                            5
 7   excessive force against the protestors. The demonstrations were targeted due to their
 8   association with this group of people, i.e., for the fact of their speaking out in support of a group
 9   the SJPD informally targeted. Additionally, these statistics also demonstrate that the SJPD’s
10   motive in employing excessive force was to silence the protestors for speaking out on a topic
11   that, although true, cast them in a negative light. Certainly, the SJPD would not want public
12   attention to be drawn to the fact that its department was plagued by decades of discrimination.
13          These studies also support Monell liability as to a failure to train or supervise. The
14   statistics establish the existence of the problem, the City’s notice thereof, and the City’s
15   subsequent inaction or inadequate response. See ECF 73, ¶ 66. The SAC alleges a nearly 30-
16   year period where the City was aware of this issue and failed to address it. Id. As early as 1991,
17   the City was put on notice that its police officers were targeting people of color at “high rates
18   relative to the census population of the City.” Id. In 2017, the City was, again, made aware that
19   this issue continued to persist. Id. Data from 2018 shows that nothing changed thereafter. Id.
20   Indeed, such targeting continued up through the 2020 protests. Id.
21          c.      Ratification or Decision by Policymaker
22          “A municipality also can be liable for an isolated constitutional violation if the final
23   policymaker ‘ratified’ a subordinate's actions.” Christie v. Iopa, 176 F.3d 1231, 1238 (9th Cir.
24

25   4 Johnson is not precluded from making this argument and does reserve the right to later amend

26   to add an equal protection claim in the first instance.
27   5 The allegations include statistics which show this custom persisted up through the protests

28   themselves.
                                               26
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 1   1999) (citing City of St. Louis v. Praprotnik, 485 U.S. 112, 127 (1988)). The allegations in the
 2   SAC support the inference that the SJPD’s indiscriminate firing of projectiles and tear gas at the
 3   protestors assembled at City Hall on May 30 was a deliberate decision by City policymakers or
 4   was, at least, ratified by them. See ECF 73, ¶¶ 24-37. This is because it can be presumed that
 5   Chief Garcia, and/or other policymakers, were in control of the department given that they were
 6   responding to a massive citywide event requiring the department’s full attention. See Id., ¶¶ 2,
 7 12-59; Martinez v. City of Santa Rosa, 499 F. Supp. 3d 748, 749–50 (N.D. Cal. 2020).

 8          “[W]hen [a police] department is executing an organized, department-wide response, one
 9 can presume that the police chief was in control of his department, either directing that response

10 himself or—at the very least—ratifying the actions of his subordinates.” Martinez, supra, 499 F.

11 Supp. 3d at 750 (citing, e.g, Christie, 176 F. 3d at 1239; Hernandez v. City of San Jose, 241 F.

12 Supp. 3d 959, 979-80 (N.D. Cal. 2017), affirmed in part, dismissed in part, 897 F.3d 1125 (9th

13 Cir. 2018); Dorger v. City of Napa, 2012 WL 3791447, at *6 (N.D. Cal. Aug. 31, 2012)); accord

14 NAACP of San Jose/Silicon Valley, 562 F. Supp. 3d at 397–98; Sanderlin, 2022 WL 913055, at

15 *16; see also Mitchell v. Kirchmeier, 28 F.4th 888 (8th Cir. 2022) (Monell ratification claim

16 pleaded, based on tacit authorization, where complaint alleged protestors were peaceful, sheriff

17 had been supervising protests, and sheriff defended excessive force used against protestors).

18                                            CONCLUSION
19          For the foregoing reasons, defendants’ motion to dismiss should be denied. If the Court
20 finds the allegations in support of any claim insufficient, plaintiff seeks leave to amend. See

21 Algzaly v. Pompeo, No. 20-cv-03322-JCS, 2021 WL 175875, at *5 (N.D. Cal. Jan. 19, 2021).

22
     Dated: September 27, 2022                            McMANIS FAULKNER
23

24
                                                          /s/ Evan Miller
25                                                        EVAN MILLER
                                                          Attorneys for Plaintiff
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